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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO


FIDELITY AND DEPOSIT COMPANY OF MARYLAND, et
al.,

    Plaintiffs,                                              CIVIL NO. 18-1942(JAG)
                  v.

GOVERNMENT DEVELOPMENT BANK FOR PUERTO
RICO, et al.,

    Defendants.



                                   PARTIAL JUDGMENT
           Pursuant to this Court’s Order, Docket No. 99, Judgment is hereby entered
DISMISSING WITH PREJUDICE the claims against Bermudez, Longo, Díaz-Masso, LLC.


IT IS SO ORDERED.
In San Juan, Puerto Rico this Thursday, October 3, 2019.


                                                   s/ Jay A. Garcia-Gregory
                                                   JAY A. GARCIA-GREGORY
                                                   U.S. DISTRICT JUDGE
